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UNITED STATES DISTRICT co T F
DISTRICT 0F MASSACHUSE 3 F:B 20 p,», ?: 77
cENTRAL DIVlSION ' '

 

ARA ERESIAN, JR.,

Plaintiff,

RYA W. ZOBEL; RESIDENTIAL FUNDING
COMPANY, LLC f/k/a RESIDENTIAL
FUNDING CORPORATION; RESCAP
SECURITIES HOLDINGS CO.; HINSHAW

& CULBERTSON, LLP; LISA URSO; TOWN
TO TOWN MOVERS, INC., and THE UNITED
STATES MARSHALS SERVICE FOR THE
DISTRICT OF MASSACHUSETTS, by and
through Deputy Director David L. Harlow, and
any successor,

Defendants,

and

ALLISON L. RANDLE,

Interested Party.

\./V`./\./v\./V\/\./V\./V\/V\_/\_/\/VV\./\_/\/VV\/Vv\-/\_/\_/VV

 

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Civil Action N0.4:17-cv-40106~TSI-I

EMERGENCY MOTION OF ARA ERESIAN, JR. FOR AN ORDER
STAYING PROCEEDINGS AND TO ENLARGE TIME IN ORDER TO RE-
EFFECTUATE SERVICE OF PROCESS UPON THE NAMED FEDERAL
DEFENDANTS AND TO PROPERLY RESPOND TO THE NAMED
DEFENDANTS’ RESPECTIVE MOTIONS TO DISMISS §ECF NOS. 312 33[

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To the Honorable TIMOTHY S. HILLMAN, District Judge.

COMES NOW Plaintiff, Ara Eresian, Jr. (hereinafter “Plaintift” or “Eresian”) and hereby
moves this Honorable Court for an Order staying proceedings and to enlarge time in order to re-
effectuate seryice of process upon the named defendants, Rya W. Zobel, Lisa Urso, and the United
States Marshals Service (collectively the “Federal Defendants”) and to properly respond to the
named defendants respective motions to dismiss. (ECF Nos. 31, 33).

As grounds therefor and in support thereof, Eresian relies upon his Afiidavit, submitted

herewith and incorporated herein in its entirety by reference.

WHEREFORE, Plaintiff, Ara Eresian, Jr. prays that the instant motion be allowed, and for

such other and further relief as this Honorable Court deems just and appropriate

ARA ERESIAN, JR.,

  

./’

_/ {Eresian,.rr., PRo sE
P.o. Box 499 ,
shrewsbury,MA 01545-0499
reh 1-(774)_258-0961
Fax: 1-(508)-757-3730

Email: arl§’¢?-‘townisp.com

Date: February kg ,2018

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CERTIFICATE OF SERVICE

I, Ara Eresian, Jr., hereby certify that on the ' 5 .day of February, 2018, I served a
copy of the within Emergency Motion OfAra Eresian, Jr. For An Order Staying Proceedings And
To Enlarge Time In Ora'er T 0 Re-Ejfectuate Service Of Process Upon The Named Fea'era]
Defendants And Properly Respond To The Defe'ndants ’ Respective Motions To Dismiss (ECF Nos.
31, 33) §§ Ajj‘idavit OfAra Eresian, Jr. In Support Of His Emergency Motion For An Order
Staying Proceedings And To Enlarge Time In Order To Re-Ejfectuate Service OfProcess Upon
The Named F ederal Defendants Ana' Properly Respond T 0 The Defendants’ Respective Motions
To Disml'ss (ECF Nos. 31, 33), via (U.S.) first class mail, postage prepaid, upon the following:

Justin M. Fabella, Esquire
Jordan S. O’Donnell, Esquire
Hinshaw & Culbertson, LLP
28 State Street, 24th Floor
Boston, MA 02109-1775 '

(For Residential Funding Company, LLC, f/k/a Residential Funding Corporation; RESCAP
Securities Holdings Co., and Hinshaw & Culbertson, LLP)

Jessica P. Driscaoll, Esquire

United States Attorney’s Office

John Joseph Moakley U.S. Courthouse
One Couxthouse Way, Suite 9200
Boston, MA 02210-3002

(F or Rya W. Zobel; Lisa Urso, and the United States Marshals Service)

Additional cop_y to:

David Caronl
82 Camelot Drive
Worcester, MA 01602-1351

(Of Town to Town Movers, Inc.)

 

1 Since Mr. Caron filed an “Answer” on January 25, 2018 (ECF No. 35), Plaintiff has served and filed
three other documents with the Court (ECF Nos. 36, 37 and 38) listing service of each filing upon Mr.
Caron at “47 Camelot Drive, Worcester, MA 01620-1354”. As of the date of this certificate, M of these
documents have been return to Plaintiff`. Should any of them be returned, P|aintiff will attempt re-service
at the above address and file an amended certificate with the Court certifying his attempt to do so.

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Allison L. Randle
68 Laurel Street
West Boylston, MA 01583-1514

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Ara Eresi 'Jr.

